                           Case: 24-34, 01/03/2024, DktEntry: 2.1, Page 1 of 3
                 Case 9:23-cv-00061-DWM Document 123 Filed 01/03/24 Page 1 of 3
                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                         JAN 3 2024
                                                                                  MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS

                  PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


       Docket Number:           24-34
       Originating Case Number: 9:23-cv-00056-DWM
                                9:23-cv-00061-DWM

       Short Title:                 Alario, et al. v. Knudsen

      Dear Appellant/Counsel


      Your notice of appeal has been received in the Clerk's office of the United States Court of
      Appeals for the Ninth Circuit. The U.S. Court of Appeals docket number shown above
      has been assigned to this case. You must indicate this Court of Appeals docket number
      whenever you communicate with this court regarding this case.

      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.

      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.

      Failure of the appellant(s) to comply with the time schedule order will result in
      dismissal of the appeal.

      Please read the enclosure materials carefully.
                           Case: 24-34, 01/03/2024, DktEntry: 2.1, Page 2 of 3
                 Case 9:23-cv-00061-DWM Document 123 Filed 01/03/24 Page 2 of 3
                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
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Molly C. Dwyer
Clerk of Court



                     PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


        Docket Number:           24-34
        Originating Case Number: 9:23-cv-00056-DWM
                                 9:23-cv-00061-DWM

        Case Title:                 Alario, et al. v. Knudsen



        Wednesday, January 31, 2024
        Austin Knudsen                                     Preliminary Injunction Opening
                                                           Brief Due

        Wednesday, February 28, 2024
        Samantha Alario                                    Preliminary Injunction Answering
                                                           Brief Due
        Heather DiRocco                                    Preliminary Injunction Answering
                                                           Brief Due
        Carly Ann Goddard                                  Preliminary Injunction Answering
                                                           Brief Due
        Alice Held                                         Preliminary Injunction Answering
                                                           Brief Due
        Dale Stout                                         Preliminary Injunction Answering
                                                           Brief Due
        TikTok Inc.                                        Preliminary Injunction Answering
                                                           Brief Due
                    Case: 24-34, 01/03/2024, DktEntry: 2.1, Page 3 of 3
          Case 9:23-cv-00061-DWM Document 123 Filed 01/03/24 Page 3 of 3
If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
hearings, the transcript deadlines do not apply.
The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
